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      EXHIBIT 7
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Mornin, Joe

From:                               Eran Gorev <Gorev@franciscopartners.com>
Sent:                               Tuesday, November 12, 2019 6:08 AM
To:                                 Mornin, Joe
Cc:                                 Grooms, Daniel; LeBlanc, Travis
Subject:                            RE: WhatsApp, et al. v. NSO Group, et al.



[External]


I am in receipt of your letter dated November 4, 2019 addressed to me as the CEO of Q Cyber Technologies regarding
the WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Ltd. and Q Cyber Technologies Ltd. litigation.

I have not been the CEO of Q Cyber Technologies since February 2018. Please contact the appropriate parties for your
inquiry.

Eran

From: Mornin, Joe [mailto:jmornin@cooley.com]
Sent: Tuesday, November 5, 2019 1:30 AM
To: erangorev@yahoo.com; Eran Gorev <Gorev@franciscopartners.com>
Cc: Grooms, Daniel <dgrooms@cooley.com>; LeBlanc, Travis <tleblanc@cooley.com>
Subject: WhatsApp, et al. v. NSO Group, et al.

Dear Mr. Gorev:

We represent WhatsApp Inc. and Facebook, Inc. in a federal lawsuit that has been filed against Q Cyber Technologies
Ltd. in the United States District Court for the Northern District of California, No. 3:19‐cv‐07123.

As explained in the attached letter, we (1) request contact information for your counsel, (2) seek your signature
acknowledging service of summons, and (3) notify you of your duty to preserve all documents that may be relevant to
this litigation.

In addition to the letter, the following documents are attached in a ZIP file:

       A document titled “Notice of a Lawsuit and Request to Waive Service of a Summons.”

       A document titled “Waiver of the Service of Summons.” Please sign this waiver and return it to us within 60
        days.

       The complaint and civil cover sheet filed in this case.

       The standing order for all judges of the Northern District of California.

       The civil standing order for Magistrate Judge Jacqueline Scott Corley.

       The Court’s order setting ADR deadlines and the initial case management conference for January 30, 2020.



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          The Northern District of California’s general standing order for civil cases entitled “Contents of Joint Case
           Management Statement.”

Due to the size of the file, we will send a separate email attaching the exhibits to the complaint in this case.

You may return the signed document to our attention via email at tleblanc@cooley.com. We look forward to hearing
from you or your counsel soon.

Very truly yours,
Joseph D. Mornin

Joseph D. Mornin
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